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March 20, 2018                                                         Peter W. Tomlinson
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By ECF



Hon. Katherine B. Forrest
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, NY 10007-1312


              Re:     Deutsche Bank National Trust Company, solely in its capacity as
                      Trustee for the Morgan Stanley Structured Trust I 2007-1 v. Morgan
                      Stanley Mortgage Capital Holdings LLC, No. 14-cv-3020

Dear Judge Forrest:

               We write on behalf of Certificateholders Olifant Fund, Ltd., FFI Fund, Ltd., FYI
Ltd., Taconic Opportunity Master Fund L.P., and Taconic Master Fund 1.5 L.P.
(“Certificateholders”) in response to the March 16, 2018 Order and in particular to address the
Court’s uncertainty about the share of the voting rights the Certificateholders represent.

              The Certificateholders hold $45,000,000 in original face value of certificates
($25,000,000 in current face value). That equates to approximately 11% of Voting Rights in the
Trust.

              We appreciate the Court’s attention to this matter.

                                                        Respectfully submitted,

                                                        /s/ Peter W. Tomlinson

                                                        Peter W. Tomlinson

cc:    All Counsel of Record (via ECF)
